   Case: 1:11-cv-00336 Document #: 238 Filed: 01/06/14 Page 1 of 9 PageID #:8105




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

JAMES BLAKES, STEVEN CLARK,
HERMAN DECKYS, BRADLEY HUNT,
PHILLIPE PORTER, ERNEST ROBERTS,
JR., LARRY WILLIAMS, for themselves and
on behalf of similarly situated others,
                                                     Case No. 11-cv-336
                               Plaintiffs,
                                                     Hon. Judge Kim
                   v.
ILLINOIS BELL TELEPHONE COMPANY
d/b/a AT&T Illinois,
                              Defendant.

              DEFENDANT’S RESPONSE IN PARTIAL OPPOSITION
       TO PLAINTIFFS’ MOTION TO TOLL THE STATUTE OF LIMITATIONS

       Defendant Illinois Bell Telephone Company respectfully submits this response in partial

opposition to Plaintiffs’ December 31, 2013 “Motion to Toll the Statute of Limitations” (Doc.

No. 235). As an initial matter, Plaintiffs’ Motion states, “Plaintiff [sic] has discussed this motion

with the Defendant but has not received a response.” (Doc. No. 235, p. 4). Defendant’s counsel

told Plaintiffs’ counsel when first contacted about this issue upon entry of the decertification

decision that they would need to discuss the request with their client and additionally that the

holiday period was a very difficult time period to do so. Plaintiffs then filed their Motion on

New Year’s Eve without further contacting Defendant. Also, Plaintiffs’ counsel had suggested a

60-day tolling period, not the 90 days now sought in their Motion.

       In any event, as to the relief sought in Plaintiffs’ Motion, Defendant does not oppose the

Court tolling the effectiveness of (i.e., holding in abeyance) its December 17, 2013

decertification decision, in order to allow Plaintiffs’ counsel to confer with their opt-in clients

and for the parties to discuss a potential settlement, as this Court has ordered. Defendant does



                                                 1
   Case: 1:11-cv-00336 Document #: 238 Filed: 01/06/14 Page 2 of 9 PageID #:8106




not agree though that this Court should decide which “claims” for which opt-ins would have

their statutes of limitations tolled based on its decertification decision. That matter should be

addressed in a future case if and when any opt-in elects to file an individual lawsuit. Further,

Plaintiffs’ request for a 90-day tolling period is excessive; Defendant suggests instead that any

tolling of the Court’s decertification decision be for 45 days from when it was entered (to

January 31, 2014).

       A.      Any Tolling Should Be Limited To Suspending The Effectiveness Of The
               Court’s Decertification Decision.

       Plaintiffs are not explicit as to what claims would be implicated by the tolling requested

in their Motion. Plaintiffs refer to how opt-ins “might now have the right to re-file their

respective claims” and how the Court’s decision “could amount to a de facto determination on

the merits of certain claims,” leading to their request that the Court “equitably toll the statute of

limitations for the Opt-ins to pursue their respective claims that are not part of this lawsuit[.]”

(Doc. No. 235, pp. 1-2, see also id., p. 4 (pointing to “the threat of a running statute of

limitations on those claims that are no longer part of the collective”)). But as this Court

reiterated in its decertification decision, this case never concerned “any possible FLSA claim

under the sun”:


               Applying the lenient standard that pertains to conditional
               certification, this court determined that the named plaintiffs had
               made a modest showing that Illinois Bell’s policy requiring cable
               splicers to maintain the security of their job sites routinely
               interfered with their lunch breaks. Id. at *3. The court
               characterized the claim that cable splicers miss lunch because of
               inter-site travel as being “[o]n shakier ground,” but found the
               evidence sufficient to justify issuing notice on that claim as well.
               Id. at *4. Finally, the court agreed that the named plaintiffs had
               made a sufficient showing that cable splicers are similarly forced
               to work past the end of their shifts to complete time sheets. Id. This
               court agreed with Illinois Bell, however, that the proposed notice’s
               language reached too far in describing unpaid work as that which

                                                 2
    Case: 1:11-cv-00336 Document #: 238 Filed: 01/06/14 Page 3 of 9 PageID #:8107




                 “includes, but is not limited to,” working through meal breaks and
                 completing time sheets post-shift. Id. at *8. Noting that the case is
                 about unpaid lunch breaks and post-shift completion of time
                 sheets, not “any possible FLSA claim under the sun,” this court
                 ordered the named plaintiffs to excise the “but is not limited to”
                 language from the proposed notice. Id. (Doc. No. 233, pp. 2-3).

          This Court’s decertification decision further explained that Plaintiffs’ “efficiency-

pressure” theory was never presented at the conditional certification stage, that Plaintiffs “should

not be allowed to engage in the kind of bait-and-switch that the plaintiffs’ new theory represents

here,” and that “the plaintiffs should not be allowed to avoid decertification based on a theory

they never asked the court to conditionally certify.” (Doc. No. 233, pp. 22-25). As this Court

recognized, none of the opt-ins consented to join a lawsuit based on this theory. (Id., pp. 22, 24).

          Accordingly, following this Court’s conditional certification decision, the only claims for

which the statute of limitations had stopped running upon an opt-in’s consent filing were for

alleged lunch break work from having to maintain job site security, alleged lunch break work due

to intersite travel, and alleged post-shift electronic time entry. The post-shift, time entry claim is

“the one aspect of the plaintiffs’ case that supports a finding of similarity among the plaintiffs.”

(Doc. No. 233, p. 59) (emphasis added).             Any continued tolling at this point that could

potentially apply then would only be for the two lunch break claims that the Court conditionally

certified and then decertified: “the named plaintiffs[’] alleg[ations] that they are required to

maintain the security of job sites and travel between job sites even during their lunch hour.” (Id.,

p. 2).1


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        To be clear, although Plaintiffs’ Motion refers to time spent on time sheets generally (Doc. No.
235, p. 1), there could be no question that the sole claim remaining collectively certified is what this
Court has described as being “forced to work past the end of their shifts to complete time sheets,” i.e.,
“post-shift completion of time sheets.” (Doc. No. 233, p. 3, see also id., p. 11 (referring to Plaintiffs’
theory that cable splicers “work post-shift because they are unable to enter their hours before their shift
ends” ), p. 22 (citing the Court’s order on Defendant’s motion for a protective order “that it conditionally
                                                                                     (Footnote Continued)
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   Case: 1:11-cv-00336 Document #: 238 Filed: 01/06/14 Page 4 of 9 PageID #:8108




        By contrast, the theory that the “MSOC/JAM combination violates the FLSA” (Doc. No.

233, p. 26), or any other claims Plaintiffs introduced into this case post-conditional certification,

could never be subject to tolling since this Court’s conditional certification decision never

precluded Illinois Bell cable splicers from raising these claims individually. Put differently,

Plaintiffs’ MSOC efficiency theory is no more appropriate for tolling than are claims that Illinois

Bell did not pay cable splicers the FLSA-mandated minimum wage or miscalculated overtime

premiums.

        Nonetheless, Defendant submits that this Court need not determine what tolling, if any, is

appropriate for purposes of any individual opt-in’s future potential lawsuit. The Seventh Circuit

has held that equitable tolling should be applied “sparingly” and in “extraordinary

circumstances.” See Bensman v. U.S. Forest Serv., 408 F.3d 945, 964 (7th Cir. 2005). Although

Plaintiffs’ Motion cites cases in which the court tolled the statute of limitations upon decertifying

a collective action, none involved the circumstances present here, in which certain claims (as

opposed to certain opt-ins) were decertified from the collective action, following a course of

litigation in which Plaintiffs articulated shifting claims and theories. Indeed, those opt-ins who

gave depositions in this case underscored the varying and individualized nature of their off-the-



certified the class ‘based on the named Plaintiffs’ FLSA allegations … about ‘unpaid lunch breaks and
post-shift work completing time sheets.’”), p. 52 (referring to “the post-shift claim”), p. 54 (finding
“sufficient parallels among the plaintiffs’ experiences of working post-shift to support a finding of
similarity with respect to this aspect of their claim”) (emphasis added), p. 54 (discussing determining
“whether they submitted their time after their shift ended without being paid”), p. 55 (referring to “the
post-shift aspect of the case”), p. 57 (“To the extent [Defendant] plans to challenge the credibility of the
plaintiffs’ claims that they stayed past their shift to record time and were not paid for it …”) (emphasis
added), p. 57 (“Another key distinction is that the unpaid post-shift work occurred in the garages, where
managers often were present.”), p. 58 (referring to “the post-shift work” and cable splicers “who
submitted their JAM paperwork post-shift”), p. 59 (“[T]he court finds that the claim with respect to the
post-shift time submission is sufficiently similar[.]”), p. 59 (referring to the “same question – whether
Illinois Bell’s policy of requiring cable splicers to report to their garages in a specific window of time
causes them to submit their time records post-shift and without pay”) (emphasis added)).


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    Case: 1:11-cv-00336 Document #: 238 Filed: 01/06/14 Page 5 of 9 PageID #:8109




clock allegations.2 To what degree, if any, tolling should apply to any individual opt-in must

depend on that individual’s facts and circumstances and therefore is an issue best handled if and

when any such new lawsuits are filed. See e.g., Espenscheid v. Directsat USA, LLC, No. 3:09-

cv-00625-bbc, W.D. Wis. July 7, 2011, Doc. No. 664 (Crabb, J.) (attached hereto as Ex. A, p. 2)

(“It would be inappropriate for this court to enter a broad order concerning tolling at this stage

because the issue of tolling should be addressed by the courts in which those individuals file their

lawsuits.”).

        The most equitable and cleanest approach at this point is to hold the Court’s

decertification decision in abeyance – that is, toll its effectiveness for 45 days from its entry to

January 31, 2014 – in order to allow Plaintiffs’ counsel to inform their clients of this decision

and to confer regarding their options going forward.3




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         See e.g., Doc. No. 208-2, p. 21 (citing opt-in Ericson testimony of various alleged pre-shift
activities when he worked in Buffalo Grove but not in Gurnee); p. 24 (frequency of Crowder’s alleged
manhole work would vary day-by-day); p. 35 (opt-in Smith does not know of any activities he engaged in
pre-shift that he believes he should have been paid for), pp. 35-36 (opt-in Schilling does not know any
time in which he got equipment after his shift ended and was not paid for doing so); see also id., p. 11
(referring to Plaintiffs’ argument at the hearing on Defendant’s motion for protective order that there are a
“number of reasons” why employees allegedly have worked off-the-clock).
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         At least one Court in this Circuit has concluded that it lacks authority to stay its decertification
decision retroactively, instead electing to toll the statue of limitations starting from the date of a
subsequent order. See Hundt v. Directsat USA, LLC, No. 08 C 7238, N.D. Ill. July 29, 2013, Doc. No.
300 (Gottschall, J.) (attached hereto as Ex. B). If this Court agrees, it then should deny Plaintiffs’ Motion
and its request for tolling outright, as the Court did not authorize tolling upon issuing its decision, and
Plaintiffs do not establish or even allege that any opt-in exercised due diligence but nonetheless was
precluded from filing an individual claim. See Bensman, 408 F.3d at 964; cf. Espenscheid, Ex. A, at *5
(plaintiffs “presented no evidence that any former class member who has exercised due diligence will be
barred from filing suit because he or she has been unable to obtain the information necessary to realize
that he [or she] may possibly have a claim.”) (citations and quotations omitted). Or, at the very least, the
Court should limit tolling exclusively to the two lunch break claims at issue on conditional certification,
starting from the entry of an applicable order and ending on January 31, 2014.


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    Case: 1:11-cv-00336 Document #: 238 Filed: 01/06/14 Page 6 of 9 PageID #:8110




        B.       The Effectiveness Of The Court’s Decertification Decision Should Be Tolled
                 For No More Than 45 Days From That Decision.

        Plaintiffs do not explain why anything less than a 90-day tolling period purportedly

would prejudice the opt-ins’ rights. None of the cases Plaintiffs’ Motion cites ordered tolling for

such an excessive time period. See e.g., Zivali v. AT&T Mobility, LLC, 08 Civ. 10310 (JSR),

2011 U.S. Dist. LEXIS 101084, at **3-4 (S.D.N.Y. June 6, 2011) (ordering 45 days of tolling for

collective of more than 4,100 opt-ins “who reside in nearly all states and two territories”);

Proctor v. Allsups Convenience Stores, Inc., 250 F.R.D. 278, 279, 284 (N.D. Tex. 2008) (30-day

tolling for more than 1,000 opt-ins); Beauperthuy v. 24 Hour Fitness USA, Inc., 772 F. Supp. 2d

1111, 1121, 1128, 1135 (N.D. Cal. 2011) (30-day tolling for classes of 772 and 430 employees);

Johnson v. Big Lot Stores, Inc., No. 04-3201, 2008 U.S. Dist. LEXIS 123265, at **4-5 (E.D. La.

July 24, 2008) (denying plaintiffs’ request for 90-day tolling, imposing instead 45 days from

order on plaintiffs’ motion to equitably toll the statute of limitations).4

        To justify this atypical 90-day period, Plaintiffs only offer that “it may be difficult to

advise Opt-ins of his or her rights until the beginning of the New Year” but do not represent that

they indeed have encountered any such difficulties. (Doc. No. 235, p. 4) (emphasis added).

Further, the premise of prolonging tolling in order to preserve the viability of individual opt-ins’

claims is particularly inapplicable here considering this Court’s recognition that Plaintiffs

apparently “have abandoned their theory that inter-site travel cause splicers to work off the


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          In the Sliger v. Prospect Mortgage, LLC, No. Civ. S-11-465 LKK/EFB, 2012 U.S. Dist. LEXIS
170701, at *4 (E.D. Cal. Nov. 30, 2012) decision that Plaintiffs cite (Doc. No. 235, p. 4), the parties
stipulated to decertification and submitted a proposed order to toll the statutes of limitations applicable to
the federal and California state law claims alleged in the lawsuit for 90 days. The Court refused to issue
the proposed order, finding instead that “the better approach would be for defendant Prospect to stipulate
that, in the event that it raises the statue of limitations in an action brought by one of the opt-in plaintiffs,
it will agree to extend any limitations period it asserts by 90 days.” Sliger, 2012 U.S. Dist. LEXIS
170701, at *7.


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   Case: 1:11-cv-00336 Document #: 238 Filed: 01/06/14 Page 7 of 9 PageID #:8111




clock” and of certain Plaintiff/opt-in testimony refuting the notion that cable splicers forewent

lunch breaks due to manhole work. (Id., pp. 44-45, 48). A 45-day period during which the

Court’s decertification decision is suspended strikes a reasonable balance between allowing time

for counsel to contact their clients, and avoiding needlessly delaying this litigation.

       Plaintiffs also refer to the Court’s order that the parties exchange settlement letters as a

basis for a 90-day tolling period (Doc. No. 235, p. 4), but presently it is unknown whether any

settlement is likely so as to justify essentially suspending this case for three months. If further

tolling proves advisable, the parties can revisit this issue. To instead put this case on ice for 90

days simply because the parties have been ordered to discuss settlement is premature.

                                  *       *       *       *       *

       Therefore, Defendant opposes Plaintiffs’ request for 90 days of tolling on any statute of

limitations applicable to opt-ins’ claims. Defendant does not oppose an Order tolling (a) the

effectiveness of the Court’s December 17, 2013 decertification decision, (b) for a period of 45

days from the date of that decision, to January 31, 2014.


Dated: January 6, 2014                                        Respectfully submitted,
                                                              Illinois Bell Telephone Company
                                                              d/b/a AT&T Illinois

                                                              By:     s/ Gregory P. Abrams
                                                                        One of its attorneys

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Case: 1:11-cv-00336 Document #: 238 Filed: 01/06/14 Page 8 of 9 PageID #:8112




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                                     8
   Case: 1:11-cv-00336 Document #: 238 Filed: 01/06/14 Page 9 of 9 PageID #:8113




                              CERTIFICATE OF SERVICE

       There undersigned attorney hereby certifies that on January 6, 2014, a true and correct

copy of the foregoing document was served by electronic means through the Court’s ECF

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                                                         s/ Gregory P. Abrams




                                              9
